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10

11                                     UNITED STATES DISTRICT COURT

12                                   NORTHERN DISTRICT OF CALIFORNIA

13                                              SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,                         )   Case No. CR-18-00258-EJD
15                                                     )
             Plaintiff,                                )   DECLARATION OF AMY MASON SAHARIA
16                                                     )   IN SUPPORT OF MS. HOLMES’ RENEWED
        v.                                             )   MOTION TO EXCLUDE CERTAIN NEWS
17                                                     )   ARTICLES
     ELIZABETH HOLMES and                              )
18   RAMESH “SUNNY” BALWANI,                           )   Hon. Edward J. Davila
                                                       )
19           Defendants.                               )
                                                       )
20                                                     )
                                                       )
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             I, AMY MASON SAHARIA, declare as follows:
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             1.       I represent Defendant Elizabeth Holmes and have been admitted to practice pro hac vice
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     in the above-captioned matter. I submit this declaration in support of Ms. Holmes’ Renewed Motion To
25
     Exclude Certain News Articles (“Motion”). I attest to the following facts upon which the Motion relies.
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             2.       Attached to the Motion are seven exhibits. The content of the exhibits are as follows:
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28 DECLARATION OF AMY MASON SAHARIA IN SUPPORT OF MS. HOLMES’ RENEWED
   MOTION TO EXCLUDE CERTAIN NEWS ARTICLES
   CR-18-00258 EJD
                                                       1
             Case 5:18-cr-00258-EJD Document 896 Filed 08/06/21 Page 2 of 2




 1                a.      Exhibit 1 is a true and correct copy of the government’s proposed trial exhibit

 2 2888.

 3                b.      Exhibit 2 is a true and correct copy of the government’s proposed trial exhibit

 4 2920.

 5                c.      Exhibit 3 is a true and correct copy of the government’s proposed trial exhibit

 6 4552.

 7                d.      Exhibit 4 is a true and correct copy of the government’s proposed trial exhibit

 8 3221.

 9                e.      Exhibit 5 is a true and correct copy of the government’s proposed trial exhibit

10 4562.

11                f.      Exhibit 6 is a true and correct copy of the government’s proposed trial exhibit

12 3026.

13                g.      Exhibit 7 is a true and correct copy of the government’s proposed trial exhibit

14 2954.

15         I declare under penalty of perjury under the laws of the United States that the foregoing is true

16 and correct to the best of my knowledge.

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18         Executed this 6th day of August, 2021 in Chevy Chase, MD.

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21                                                       AMY MASON SAHARIA
                                                         Attorney for Elizabeth Holmes
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28 DECLARATION OF AMY MASON SAHARIA IN SUPPORT OF MS. HOLMES’ RENEWED
   MOTION TO EXCLUDE CERTAIN NEWS ARTICLES
   CR-18-00258 EJD
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